   Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 1 of 16 PageID #:2511




                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,
                     Plaintiff,

                         v.

    CAMBIUM NETWORKS, INC.;                              Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, LTD.;
    BLIP NETWORKS, LLC;                                  JURY TRIAL DEMANDED
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and
    DMITRY MOISEEV
                      Defendants.


                        PLAINTIFF UBIQUITI NETWORKS, INC.’S
                         MOTION TO LIFT STAY OF DISCOVERY

       Plaintiff Ubiquiti Networks, Inc. (“Ubiquiti”) respectfully requests the Court to grant the

enclosed Motion to Lift Stay of Discovery in this action filed against Defendants Cambium

Networks, Inc., Cambium Networks, Ltd., Blip Networks, LLC, Winncom Technologies, Inc.,

Sakid Ahmed and Dmitry Moiseev (“Defendants”), and states as follows in support thereof:

                                       INTRODUCTION

       Ubiquiti should be allowed to recommence discovery in this case. While Defendants

have filed a motion to dismiss Ubiquiti’s First Amended Complaint (“FAC”), that motion

provides no valid basis for denying Ubiquiti its right to proceed with discovery and gather

evidence in support of its claims. As a general rule, the mere filing of a motion to dismiss does

not automatically stay discovery. This holds particularly true here, as Defendants’ motion does

not even address all of the claims in the FAC and is premised entirely on the erroneous

assumption that Ubiquiti has no proprietary rights to any of its source code as a matter of law.

       In an attempt to “prove” this dubious contention, Defendants attach the declaration of Jeff

Fischer to their motion to dismiss. In addition to being procedurally improper, the Fischer

                                                 1
    Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 2 of 16 PageID #:2511




declaration is facially devoid of merit for multiple reasons detailed herein and in the expert

declaration of Michael Fenn attached hereto as Exhibit A (the “Fenn Declaration”), including:

(i) Fischer did not have access to the information an expert would need to determine whether and

to what extent Ubiquiti’s source code is protectable; (ii) Fischer does not appear to understand,

or has conveniently chosen to ignore, the difference between the name of a computer file and the

actual code within that file; and (iii) Fischer misrepresents the meaning and effect of Ubiquiti’s

licensing of its software development kit (“SDK”).

          In seeking to avoid discovery while their motion is pending, Defendants argue that

discovery should be stayed (or bifurcated) in a software case any time a portion of the source

code at issue is potentially subject to an open source license. This position has no support in the

case law and would unfairly limit discovery in numerous cases because it is common for

firmware to contain both open source and non-open source code. It would be plain error to

assume that merely because Ubiquiti’s firmware contains some open source code that the

entirety of that firmware is subject to an open source license. The mere presence of open source

code in firmware simply offers no insight into whether it is likely, or even possible, that other

portions of the firmware are “infected” by this code.

          Defendants’ mere filing of a motion to dismiss the FAC does not justify denying Ubiquiti

its right to timely pursue discovery in this case, and the error-riddled Fischer declaration does

nothing to alter that fact. Accordingly, the discovery stay should be lifted and the Court should

enter a scheduling order resetting the initial discovery deadlines.

                                   FACTUAL BACKGROUND

          Ubiquiti filed its original Complaint on August 7, 2018. See Dkt. No. 1. The parties

completed their Rule 26(f) conference and submitted the Report for Mandatory Initial Discovery



                                                  2
3594048 v10 - 07041 / 001
    Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 3 of 16 PageID #:2511




Pilot (MIDP) on October 12, 2018. See Dkt. No. 32. On October 15, 2018, Defendants filed a

Motion to Dismiss the original Complaint. See Dkt. Nos. 33, 37. 1

          While the original Motion to Dismiss was pending, the parties commenced discovery.

The parties served MIDP Initial Disclosures (Dkt. Nos. 41-42), and worked on the collection of

documents and electronically-stored information (ESI) for production on or before January 14,

2019. The parties also exchanged correspondence and conferred regarding: the sufficiency of the

parties’ MIDP Initial Disclosures and a proposed protective order for discovery. On December

17, 2018, Ubiquiti served requests for production on Defendants.

          On December 17, 2018, Defendants filed a motion to extend the deadline to produce

documents and ESI. See Dkt. No. 44. On December 18, 2018, the Court ordered that “[b]ecause

the court is likely to grant in substantial part the motion to dismiss, the deadline for producing

MIDP ESI is continued generally and will be re-set at the appropriate juncture.” Dkt. No. 47.

On May 22, 2019, the Court granted in part, and denied in part, Defendants’ motion to dismiss

and granted Plaintiffs leave to file an amended complaint. See Dkt. Nos. 58-59.

          On June 18, 2019, Ubiquiti filed its First Amended Complaint (“FAC”). See Dkt. No. 65.

On June 19, 2019, the parties appeared before the Court for a status hearing, during which

Ubiquiti orally requested that the Court set a schedule for the parties to proceed with discovery.

Defendants objected to Ubiquiti’s request, and the Court continued the matter for further hearing

on July 16, 2019 following the filing of Defendants’ motion to dismiss the FAC.

          On July 10, 2019, Defendants filed a Motion to Dismiss the FAC. See Dkt. No. 70. As

an alternative to dismissal, Defendants requested “that the Court convert Defendants’ motion to a




1
 In accordance with the MIDP Standing Order, Defendants also filed an Answer to the original Complaint on
October 15, 2018, and an Amended Answer on November 5, 2018. See Dkt. Nos. 34, 38.

                                                   3
3594048 v10 - 07041 / 001
    Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 4 of 16 PageID #:2511




summary judgment motion pursuant to Rule 12(d) and limit discovery” to only the GNU General

Public License (GPL) issues raised therein “until ruling on this motion.” Id. at 27-29.

                                        LEGAL STANDARDS

          “In accordance with the Federal Rules, a court may, ‘for good cause,’ limit the scope of

discovery or control its sequence to ‘protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense.’” New England Carpenters Health & Welfare v. Abbott

Labs, No. 12C1662, 2013 WL 690613, *1 (N.D. Ill. Feb. 20, 2013) (quoting Fed. R. Civ. P.

26(c)(1)). But, “[t]he mere filing of a motion to dismiss does not automatically stay discovery.”

New England Carpenters, 2013 WL 690613, at *1 (“one argument that is usually deemed

insufficient to support a stay of discovery is that a party intends to file, or has already filed, a

motion to dismiss for failure to state a claim under Rule 12(b)(6)”) (citing, inter alia, SK Hand

Tool Corp. v. Dresser Indus., 852 F.2d 936, 945 (7th Cir. 1988)). “Instead, a stay of discovery is

generally appropriate only when a party raises a potentially dispositive threshold issue such as a

challenge to a plaintiff’s standing, or pending resolution of qualified immunity claims.” New

England Carpenters, 2013 WL 690613 at *1 (internal citations omitted). In articulating this

general rule, this district has adopted the reasoning of other courts in finding that:

               The intention of a party to move for judgment on the pleadings is not
               ordinarily sufficient to justify a stay of discovery. Had the Federal Rules
               contemplated that a motion to dismiss under Fed. R. Civ. P. 12(b)(6)
               would stay discovery, the Rules would contain a provision to that effect.
               In fact, such a notion is directly at odds with the need for expeditious
               resolution of litigation. ... Since motions to dismiss are a frequent part of
               federal practice, this provision only makes sense if discovery is not to be
               stayed pending resolution of such motions.

Id. at *2 (quoting Gray v. First Winthrop Corp., 133 F.R.D. 39, 40 (N.D. Cal. 1990)).

          “Thus, although Rule 26 gives the Court authority to stay discovery, this authority must

be exercised so as to secure the just, speedy and inexpensive determination of every action,” and


                                                    4
3594048 v10 - 07041 / 001
     Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 5 of 16 PageID #:2511




where “a stay of discovery is unlikely to significantly expedite the litigation, and may actually

slow it down, it will decline to interfere.” New England Carpenters, 2013 WL 690613, at *2

(quotations omitted); see also Coss v. Playtex Prods., LLC, No. 08 C 50222, 2009 WL 1455358,

*1 (N.D. Ill. May 21, 2009) (“Although stays on discovery are sometimes appropriate, this court

disfavors them because they bring resolution of the dispute to a standstill.”) (emphasis added).

                                                    ARGUMENT

    I.    Ubiquiti’s Request to Recommence Discovery Should Be Granted.

          Ubiquiti should be allowed to recommence discovery in this case. As this district has

recognized, the mere filing of a Rule 12(b)(6) motion to dismiss is generally insufficient to

support a stay of discovery. See supra at pgs. 4-5. This is particularly true here given that

(i) Defendants’ motion lacks merit on its face in failing to accept Ubiquiti’s well-pled allegations

as true and relying instead on facts well beyond the FAC, including a fundamentally flawed

declaration as a witness hired by Defendants, and (ii) the motion does not even address, let alone

attempt to dispose of, all of the claims in Ubiquiti’s FAC. 2 Rather than promote the efficient

resolution of this action, a continued stay of discovery in this case would only serve to

unnecessarily delay the proceedings, and in so doing, prejudice Ubiquiti. Among other forms of

prejudice, a discovery stay during the pendency of Defendants’ motion will likely result in:



2
  See, e.g., New England Carpenters, 2013 WL 690613, at *1-2 (denying motion to stay discovery where Rule
12(b)(6) motion did “not rais[e] a threshold issue such as standing or immunity from suit” and plaintiff’s claims
were not “utterly frivolous or without merit”) (quoting Gray, 133 F.R.D. at 40 (“Furthermore, a stay of the type
requested by defendants, where a party asserts that dismissal is likely, would require the court to make a preliminary
finding of the likelihood of success on the motion to dismiss. This would circumvent the procedures for resolution
of such a motion. Although it is conceivable that a stay might be appropriate where the complaint was utterly
frivolous, or filed merely in order to conduct a ‘fishing expedition’ or for settlement value, this is not such a case.”));
O’Conner v. Eden Mgmt. LLC, No. 13 C 7391, 2014 WL 5761138, *2 (N.D. Ill. Nov. 4, 2014) (denying motion to
stay discovery where “Defendants’ motion to stay is predicated on the assumption that their motion to dismiss
[plaintiff’s amended complaint] will be granted. But that is pure speculation at this juncture.”); Ball v. Field, No. 90
C 4383, 1991 WL 24513, *2 (N.D. Ill. Feb. 11, 1991) (denying motion to stay discovery where, among other
reasons, defendants’ motion to dismiss would not be dispositive of all claims).

                                                            5
3594048 v10 - 07041 / 001
    Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 6 of 16 PageID #:2511




     •    Increased harm to Ubiquiti resulting from Defendants’ continued wrongful marketing,
          licensing and distribution of Elevate and the delayed adjudication of Ubiquiti’s claims for
          injunctive relief seeking to stop this misconduct; and

     •    Discovery becoming harder, more expensive and less productive given passage of time. 3

          For these reasons and those detailed further below, Defendants’ motion does not provide

a legitimate basis to stay discovery in this action.

          A. Defendants’ Motion to Dismiss Lacks Merit.

          Defendants’ motion is premised on the argument that the source code identified in

Ubiquiti’s complaint is covered by the GPL. Instead of basing their motion to dismiss on the

allegations of the FAC, or anything this Court could validly take judicial notice of, Defendants

improperly attempt to rely on the “opinions and findings” set forth in the expert declaration of

Jeff Fischer attached to their motion (“Fischer Declaration”). But, Defendants may not rely on

an expert declaration to sustain a Rule 12(b)(6) motion. 4                     Defendants’ refusal to accept

Ubiquiti’s well-pled allegations as true dooms their motion from the very outset.

          In addition to being procedurally improper, the arguments set forth in Defendants’

motion and the Fischer Declaration are demonstrably wrong for the following reasons.

          First, the Court dismissed Ubiquiti’s original Complaint due to its failure to provide

adequate notice of the specific portions of the Firmware that Ubiquiti was alleging were

3
  See, e.g., Arocho v. Nafzinger, No. 07-cv-02603, 2008 WL 5101701, *1 (D. Colo. Dec. 1, 2008) (denying motion
to stay during pendency of Rule 12(b)(6) motion based in part on finding that such “delay may diminish plaintiff’s
ability to proceed” as “with passage of time, the memories of parties and other witnesses may fade, witnesses may
relocate or become unavailable, or documents may become lost or inadvertently destroyed”).
4
  “A motion under Rule 12(b)(6) can be based only on the complaint itself, documents attached to the complaint,
documents that are critical to the complaint and referred to in it, and information that is subject to proper judicial
notice.” Reed v. Palmer, 906 F.3d 540, 548 (7th Cir. 2018) (quotations omitted). Accordingly, the opinions and
findings set forth in an expert declaration cannot be considered in connection with a Rule 12(b)(6) motion. See, e.g.,
DeMarco v. DepoTech Corp., 149 F. Supp. 2d 1212, 1221 (S.D. Cal. 2001) (“[T]he contents of an expert affidavit
are susceptible to a panoply of evidentiary and procedural challenges not generally applicable to allegations in a
complaint, including objections based on countless federal evidentiary rules governing admissibility and compliance
with the expert disclosure and report requirements of Rule 26(a). In sum, considering an expert affidavit would so
complicate the procedural posture of a motion to dismiss that it would become virtually indistinguishable from a
motion for summary judgment.”).

                                                          6
3594048 v10 - 07041 / 001
    Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 7 of 16 PageID #:2511




protectable and infringed by Defendants.       Ubiquiti has now fully addressed this issue by

specifically identifying nine different portions of the Firmware by source code package name

and function. See FAC ¶ 37. Moreover, Ubiquiti expressly alleges that none of this source code

is subject to the GPL, which necessarily would include both code originally licensed under the

GPL and any code derived therefrom under the express terms of the GPL. See FAC ¶ 33

(defining “Registered Firmware” as only “the portions of Ubiquiti’s Firmware that constitute

original authorship by Ubiquiti”); FAC ¶¶ 34-35 (explaining that Ubiquiti’s Firmware includes

licensed-in materials such as code covered by the GPL, which is expressly not part of the

Registered Firmware); FAC ¶ 35 (explaining that the only derivative copyrights claimed by

Ubiquiti are those “licensed-in materials from third parties that are not subject to the GPL”);

FAC ¶136 (“The source code covered by the Registered Firmware does not include open source

software licensed to Ubiquiti pursuant to the GNU General Public License….”).

          Second, the Fischer Declaration is filled with false assumptions and outright errors.

Fischer was tasked with opining on whether the source code Ubiquiti identified in the FAC was

subject to the GPL. In order to perform this analysis, at a minimum an expert would need access

to, the source code identified in the FAC, as well as the source code released under the GPL by a

third party (not Ubiquiti). Fischer, however, claims he can conduct this analysis simply by

comparing the file name and descriptions given in the FAC to code released by Ubiquiti in a

SDK containing files with somewhat similar names. Such a process is inherently flawed for

numerous reasons, including: (i) Fischer did not have the data necessary to perform an actual

analysis of the code; (ii) the mere name of a file sheds no light on the content of the code within

that particular file; (iii) in many cases Fischer can only point to object code, not source code,

released in the SDK; (iv) the mere release of code in the SDK does not allow one to conclude it



                                                7
3594048 v10 - 07041 / 001
    Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 8 of 16 PageID #:2511




is subject to the GPL; and (v) the SDK contains identifications that certain files identified in the

FAC are proprietary to Ubiquiti and not covered by the GPL.

               i. No Analysis of Necessary Data: As an initial matter, Fischer simply does not

     have the information necessary to opine on whether the source code forming the basis of

     Ubiquiti’s claims (which he has never seen) is identical or a derivative of any source code

     available under an open source license. (Fenn Decl. at ¶12.) At a minimum, a reasonably

     competent expert would have to review the source code for the items the expert is attempting

     to compare to other sources. (Id.)

               ii. Erroneous Assumptions as to Name Comparisons: Fischer’s opinions are

     erroneously premised on his comparison of the source code packages identified by Ubiquiti

     in the FAC against file names included in Ubiquiti’s SDK release that happen to contain a

     portion of the same identifier. (Fenn Decl. ¶13.) In undertaking this comparison, Fischer

     simply assumes that any portion of Ubiquiti’s SDK release that contain code packages with

     names similar to source code packages identified by Ubiquiti in the FAC must somehow be

     are covered by GPL. There is no valid basis for making this assumption. (Id.) For example:

          •    The FAC identifies the package “ubnt-3g.” In his analysis, Fischer merely searched
               the SDK for any file with the letters “3g”, and in his declaration Fischer incorrectly
               concludes that the “match” is a different and unrelated file named 30-3g. (Id.)

          •    The FAC identifies the file “ubntconf_cl.sh.” Fischer identifies a different file
               “ubntconf” as a supposed “match.” However, this is not a match and the file
               identified by Fischer is simply one of the files called by the file named in the FAC.
               (Id.)

          •    The FAC identifies the package “ubnt-poe-control.” Fischer assumes “poe” means
               “power over internet” and identifies the “likely match” as a file called “advanced.cgi”
               because it contains part of the user interface for turning on power of internet.
               However, this is not a match and the file identified by Fischer is not the code for
               implementing the power over internet functionality. (Id.)




                                                    8
3594048 v10 - 07041 / 001
    Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 9 of 16 PageID #:2511




Fischer’s overly simplistic analysis is rife with error and provides no valid basis for calling any

of Ubiquiti’s complaint allegations into question.

               iii. Object Code vs. Source Code: Fischer incorrectly opines that human readable

     source code identified in the FAC (which he does not have access to) “matches” unreadable

     object code in the SDK (as the SDK does not include source code). Fischer takes the names

     of various source code packages identified in the FAC (such as ubnt-spectral, ubnt-spectral-2,

     ubnt-poll, and ubnt-regd), and identifies object code files in the SDK with similar names.

     However, Fischer does not point to any source code in the SDK that is similar to, or a

     “match” to, the actual source code identified by Ubiquiti. (Fenn Decl. ¶¶17-18.)

               iv. Ubiquiti Did Not License All Of Its SDK Code Under The GPL: Fischer also

     incorrectly opines that Ubiquiti released all of the code in the SDK subject to the GPL. As

     the download page for the SDK that was included as Exhibit A to Fischer’s own declaration

     makes clear however, only “some of the software in the firmware is licensed under the GNU

     General Public License and other Open Source and Free Software licenses.” (Fischer Decl.,

     Ex. A (emphasis added)). Fischer fails to offer any explanation for why he ignores this fact,

     and it undermines his analysis entirely. The fact that Ubiquiti only released some of its SDK

     code under the GPL (with specific source code files identifying the GPL) means that it is

     simply incorrect to opine that Ubiquiti released all of the code in the SDK under the GPL.

               More fundamentally, in determining whether the object code identified by Fischer

     “matches” the source code referenced in the FAC, a reasonably competent expert would have

     run a string analysis to determine whether the object code found in the SDK identifies the

     applicable license under which it is being released.        While object code is generally

     unreadable, a string analysis allows the identification of human readable portions. (Fenn



                                                 9
3594048 v10 - 07041 / 001
   Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 10 of 16 PageID #:2511




     Decl. ¶¶19-22.)        This string analysis would have been especially prudent in light of

     Ubiquiti’s express representation that only some items in the S were being licensed under the

     GPL, and would have revealed that the files Fischer identified expressly state that they are

     proprietary to Ubiquiti and not covered by the GPL. (Id.) For example, the object code in

     the SDK for the “ubnt-spectral” package identified in the FAC states:

               license: Proprietary
               description: Ubiquiti Spectral Analysis Module
               author: Ubiquiti Networks, Inc.

          In contrast, a non-asserted GPL licensed file in the SDK states:

               license: GPL
               description: Signal display (printk) module for madwifi
               author: UBNT, kaleda

          (Id.) Fischer nevertheless ignores this material distinction.

               v. False Assumptions as to GPL Coverage: Fischer also incorrectly assumes that if

     Ubiquiti initially licenses code to third parties under the GPL, it also must license any later

     derivatives or modifications of that code it may make under the GPL. While licensing code

     under the GPL means that someone else who uses that file agrees to release any derivatives

     of that code they may create under the GPL, neither Defendants nor Fischer point to any

     section of the GPL that obligates the Licensor (here Ubiquiti) to release all future derivatives

     of its own work under the GPL. Fischer makes no attempt to opine that any of the files

     identified in the FAC were written by Ubiquiti based on code Ubiquiti received from a third

     party under the GPL. (Fenn Decl. ¶¶15-16.) Thus, it is incorrect for Fischer to conclude that

     the presence of a similar file in the SDK, even if covered by the GPL, means that all

     derivatives of those files are also covered by the GPL.




                                                   10
3594048 v10 - 07041 / 001
   Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 11 of 16 PageID #:2511




          In sum, there is nothing on the face of Defendants’ motion (either alone or when

combined with the deficient Fischer Declaration) that would allow a reasonable fact-finder to

conclude that the source code identified in the FAC is covered by the GPL license.

          B. Defendants’ Motion to Dismiss Does Not Address All Of Ubiquiti’s Claims.
          Defendants’ motion to dismiss is, at best, a motion seeking partial dismissal. In the

motion, Defendants argue that Ubiquiti’s copyright infringement and breach of contract claims

fail to state a valid cause of action because all of the source code at issue is covered by the GPL.

Defendants then cursorily assert that this GPL defense is fully dispositive of all of the claims in

the FAC. Defendants are mistaken.

          Even if Defendants’ GPL arguments were correct (which they are not), numerous counts

in the FAC would remain. For example, the following claims cannot be resolved by the GPL

arguments in Defendants’ motion:

               •    Count I: Breach of Contract claims based upon allegations of (i) unauthorized use
                    of portions of the Firmware that Ubiquiti licenses from third parties (such as
                    Atheros) (FAC ¶¶ 124-125), (ii) unauthorized use of the proprietary data
                    contained in Ubiquiti’s configuration and calibration files (FAC ¶¶ 124), and
                    (iii) use of the Firmware to violate FCC regulations (FAC ¶¶ 125).

               •    Counts V, VI, VII & VIII: False Advertising, Tortious Interference with
                    Contract, Unfair Competition, and Intentional Interference with Prospective
                    Economic Advantage claims based upon allegations of (i) false statements about
                    use of Elevate being supported by warranty coverage from Ubiquiti (FAC ¶¶ 226,
                    233, 243, 252), and (ii) false statements about use of Elevate yielding Ubiquiti M-
                    series devices that are FCC complaint (FAC ¶¶ 226, 233, 243, 252).

               •    Counts X & XI: RICO 18 USC §§ 1962(c) & 1962(d) claims based upon mail
                    and wire fraud due to Cambium’s false and misleading statements (FAC ¶¶ 270,
                    274), and Defendants’ conspiracy to promote Elevate through the same false and
                    misleading statements (FAC ¶¶ 281, 291, 296).

          Unlike the prior motion to dismiss, Defendants’ current motion no longer raises the

threshold issue of standing (which the Court has previously rejected). Thus, not only should

Defendants have filed an answer for the claims that are not fully resolved by Defendants’


                                                    11
3594048 v10 - 07041 / 001
     Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 12 of 16 PageID #:2511




motion, the Court should properly allow discovery to proceed while this partial motion to

dismiss is pending. See Ball, 1991 WL 24513, at *2 (“The crucial point is that defendants’

motion would not be dispositive of all of plaintiff’s claims. Thus, the efficiency justification

behind a stay of discovery is not satisfied in these circumstances.”).

    II.   Defendants’ Request for Bifurcation of Discovery Should Be Rejected.

          In apparent recognition of the merit of Ubiquiti’s request to recommence discovery,

Defendants have requested that discovery be bifurcated to focus solely on their GPL defense

while excluding any discovery regarding the Defendants’ alleged misconduct. See Dkt. No. 70

at pgs. 27-29. Specifically, Defendants’ motion to dismiss requests that if the Court “finds any

part of the FAC sufficient,” it should convert the pending motion into a motion for summary

judgment under Rule 12(d) and then limit discovery to whether Ubiquiti’s Firmware is

encompassed by the GPL license and “whether anything survives.” Id. at pg. 28. This request

for bifurcated, one-sided, discovery should be denied for multiple reasons.

          First, Defendants’ request is procedurally improper. Rule 12(d) is not a vehicle to limit

discovery. Instead, it allows the Court to convert Defendants’ partial motion to dismiss into a

partial motion for summary judgment due to Defendants’ reliance on materials outside the

pleadings (such as the Fischer Declaration). 5 But, even if Defendants’ request were to be

granted under this rule, Defendants would be deemed to have submitted their partial motion for

summary judgment and it is Ubiquiti that would be the party allowed discovery in order to

respond to the motion. See, e.g., Covington v. Illinois Sec. Serv., Inc., 269 F.3d 863, 865 (7th

Cir. 2001) (“the district court should permit the parties to engage in discovery before converting

(for all intents and purposes) a motion to dismiss into one for summary judgment”); Hartford

5
  See Fed. R. Civ. P. 12(d) (“If, on a motion under Rule 12(b)(6) or 12(c), matters outside the pleadings are
presented to and not excluded by the court, the motion must be treated as one for summary judgment under Rule 56.
All parties must be given a reasonable opportunity to present all the material that is pertinent to the motion.”).

                                                       12
3594048 v10 - 07041 / 001
    Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 13 of 16 PageID #:2511




Underwriters Ins. Co. v. Guarantee Tr. Life Ins. Co., No. 16 C 10478, 2017 WL 4535969, *4

(N.D. Ill. Oct. 10, 2017) (“when the Court utilizes materials outside of the pleading to decide a

motion to dismiss, it must first convert the motion into a motion for summary judgment and

permit applicable discovery”).             Defendants’ proposal that Ubiquiti should be denied all

discovery, while granting Defendants’ one-sided request for discovery of data and documents

from Ubiquiti is simply backwards. 6

          To the extent that Defendants seek to limit discovery (either generally or in connection

with conversion of a motion under Rule 12(d)), Defendants must first satisfy their burden of

proof under Federal Rule of Civil Procedure 26, which affords a district court the discretion to

limit discovery upon a showing of good cause in order to prevent “annoyance, embarrassment,

oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1). A request for a protective

order limiting discovery should be evaluated “against the backdrop of Rule 26(b)(1), which

generally permits broad ranging discovery of any non-privileged information that appears

reasonably calculated to lead to the discovery of admissible evidence.” Steadfast Ins. Co. v. Auto

Mktg. Network, Inc., No. 97 C 5696, 1999 WL 300231, *1 (N.D. Ill. May 3, 1999) (quotations

omitted). Thus, a party seeking a protective order that would limit the wide berth generally

given to discovery bears the burden of showing good cause by “a particular and specific

demonstration of fact, as distinguished from stereotyped and conclusory statements.” Id.



6
  While not relevant to the present motion, it should be noted that courts in this district have consistently declined to
convert motions to dismiss into motions for summary judgment at the early stages of litigation and prior to
discovery. See, e.g., Solis v. Caro, N.C., No. 11 C 6884, 2012 WL 1409558, *3 (N.D. Ill. Apr. 23, 2012) (“although
the Court has discretion to consider the materials and convert Caro’s motion into a motion for summary judgment,
the Court declines to do so here, where the parties are in the early stages of litigation and have not yet engaged in
discovery”) (citing Magellan Int'l Corp. v. Salzgitter Handel GmbH, 76 F.Supp.2d 919, 922 (N.D. Ill. 1999)
(“converting a Rule 12(b)(6) motion into a Rule 56 motion for summary judgment ‘seldom makes sense at the
threshold stage of any litigation’”); see also Baker v. Lakin, No. 3:15-cv-600, 2016 WL 1696804, *3 (S.D. Ill. Apr.
5, 2016) (“allowing Defendants to proceed on a motion for summary judgment at this juncture is premature, as
Plaintiff has not had the opportunity to fully engage in discovery to provide support for his allegations”).

                                                          13
3594048 v10 - 07041 / 001
   Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 14 of 16 PageID #:2511




          As applied here, Defendants have failed to establish good cause to limit discovery. In

their motion, Defendants state that discovery will be “crippingly expensive” without any factual

support.      Dkt. No. 70 at pg. 28.   But, such “stereotyped and conclusory statements” are

insufficient to warrant the entry of a protective order limiting discovery. See, e.g., Steadfast,

1999 WL 300231, at *1; New England Carpenters, 2013 WL 690613, at *3. Moreover, in this

particular case bifurcation of discovery would likely increase (not decrease) the costs of

litigation by, inter alia, (i) leading to disputed motion practice regarding whether a specific

discovery request is part of the limited scope of discovery, and (ii) requiring the parties to

complete duplicative discovery, including the taking of multiple depositions of the same

individuals at different stages of discovery). See, e.g., Phillips v. United Parcel Serv., Inc., No.

08-13978, 2009 WL 3247856, *1 (E.D. Mich. Oct. 2, 2009) (adopting plaintiff’s concerns that

limiting discovery to a threshold issue will lead to “further litigation regarding the bounds of

such a limitation” and will require the plaintiff to “conduct certain discovery, such as

depositions, twice”). Furthermore, as detailed above (supra at Part I), the pending motion to

dismiss does not provide a sufficient basis for staying or otherwise limiting discovery in this

action. Finally, Defendants’ bifurcation request would prejudice Ubiquiti in multiple respects,

including by allowing Defendants full discovery on one of their defenses while prohibiting

Ubiquiti from seeking discovery on the merits of its own claims – all while further delaying

Ubiquiti’s efforts to obtain injunctive relief to put a stop to Defendants’ misconduct in the

marketplace. See, e.g., id. (holding that defendants’ requested bifurcation of discovery would be

“prejudicial to Plaintiff, as he would essentially be precluded from conducting discovery in his

favor while Defendants gather evidence in support of their defense”).




                                                14
3594048 v10 - 07041 / 001
   Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 15 of 16 PageID #:2511




          In sum, any attempt to bifurcate discovery in the manner suggested by Defendants would

result in inefficiencies, increased costs and use of judicial resources, and prejudice to Ubiquiti,

and should therefore be rejected.

                                          CONCLUSION

          For the foregoing reasons, Ubiquiti respectfully requests that the Court grant its Motion

to Lift Stay of Discovery and enter a scheduling order setting the following discovery deadlines:

     i. 21 Days from Entry of Order: Deadline for parties to meet and confer and submit a new
        joint (or competing) case management schedule for Court approval;

     ii. 21 Days from Entry of Order: Deadline for parties to meet and confer and submit draft
         (or competing) proposed Protective Order(s) for Court approval;

     iii. 28 Days from Entry of Order: Parties to serve amended or supplemental MIDP Initial
          Disclosures;

     iv. 40 Days from Deadline to Serve Amended/Supplemental MIDP Initial Disclosures:
         Parties to complete production of MIDP documents and ESI; and

     v. Beginning after deadline to produce MIDP Documents and ESI: Parties may issue (or re-
        issue) written discovery requests.



Dated: July 15, 2019                           Respectfully submitted by:

                                               /s/ Jason J. Keener
                                               David Koropp (ARDC #6201442)
                                               dkoropp@foxswibel.com
                                               Jason J. Keener (ARDC #6280337)
                                               jkeener@foxswibel.com
                                               Erik J. Ives (ARDC #6289811)
                                               eives@foxswibel.com
                                               Fox Swibel Levin & Carroll LLP
                                               200 W. Madison St., Suite 3000
                                               Chicago, IL 60606
                                               Attorneys for Plaintiff Ubiquiti Networks, Inc.




                                                 15
3594048 v10 - 07041 / 001
   Case: 1:18-cv-05369 Document #: 72 Filed: 07/15/19 Page 16 of 16 PageID #:2511




                               CERTIFICATE OF SERVICE

      The undersigned, an attorney, hereby certify that I caused a copy of the foregoing
document to be served by electronic mail on all counsel of record on this 15th day of July, 2019.


                                                    /s/ Jason J. Keener
                                                    Jason J. Keener




                                               16
3594048 v10 - 07041 / 001
